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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                )
                                                         )                8:15CR20
                        Plaintiff,                       )
                                                         )
        vs.                                              )                 ORDER
                                                         )
CRISPIN HERRA-HERRA,                                     )
                                                         )
                                                         )
                        Defendant.                       )



        This matter is before the court on the motion to continue by defendant Crispin Herra-Herra (Herra-

Herra) (Filing No. 80). Herra-Herra seeks a continuance of the trial scheduled for September 21, 2015.

Herra-Herra's counsel represents that Herra-Herra will submit an affidavit in accordance with paragraph 9

of the progression order whereby Herra-Herra consents to the motion and acknowledges he understands

the additional time may be excludable time for the purposes of the Speedy Trial Act. Herra-Herra's counsel

represents that government's counsel has no objection to the motion Upon consideration, the motion will

be granted. Trial will be continued as to both defendants.



        IT IS ORDERED:

        1.      Herra-Herra's motion to continue trial (Filing No. 80) is granted.

        2.      Trial of this matter as to Herra-Herra is re-scheduled for November 2, 2015, before Senior

Judge Joseph F. Bataillon and a jury. The ends of justice have been served by granting such motion and

outweigh the interests of the public and the defendant in a speedy trial. The additional time arising as a

result of the granting of the motion, i.e., the time between September 16, 2015, and November 2, 2015,

shall be deemed excludable time in any computation of time under the requirement of the Speedy Trial

Act for the reason that defendant's counsel requires additional time to adequately prepare the case. The

failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

        DATED this 16th day of September, 2014.

                                                         BY THE COURT:

                                                         s/ Thomas D. Thalken

                                                         United States Magistrate Judge
